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                                                                                          FORM 3

                       UNITED STATES COURT OF INTERNATIONAL TRADE



SEAH STEEL CORPORATION,
                                      Plaintiff
                                                      SUMMONS
                        v.
                                                      Court No. 20-00150
UNITED STATES,
                                      Defendant.



TO: The Attorney General, the Department of Commerce, and/or the Commissioner of U.S.
    Customs and Border Protection, and/or the United States International Trade
    Commission:



     PLEASE TAKE NOTICE that a civil action has been commenced pursuant to 28 U.S.C.
     § 1581(c) to contest the determination described below.



                                                  /s/ Mario Toscano º
                                                  Clerk of the Court




1.   The plaintiff in this action is SeAH Steel Corporation, which is a foreign manufacturer and
     exporter of the merchandise that was the subject of the determination being contested.
     Plaintiff is, therefore, an interested party as described in 19 U.S.C. § 1677(9) and has
     standing to bring this action under 19 U.S.C. § 1516a(d), and 28 U.S.C. § 2631(c).
     (Name and standing of plaintiff)
2.   Plaintiff contests certain aspects of the final results by the U.S. Department of Commerce in
     the 2017-18 administrative review of Certain Oil Country Tubular Goods from the Republic
     of Korea. See Certain Oil Country Tubular Goods from the Republic of Korea: Final Results
     of the Antidumping Duty Administrative Review; 2017-2018, 85 Fed. Reg. 41949 (July 13,
     2020).
     (Brief description of contested determination)
3.   The final results of the 2017-18 administrative review of Oil Country Tubular Goods from
     Korea was announced in a document signed on July 6, 2020. The notice was published in
     the Federal Register on July 13, 2020.
     (Date of determination)
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4.   The final results of the 2017-18 administrative review of Oil Country Tubular Goods from
     Korea was published in the Federal Register at 85 Fed. Reg. 41949 on July 13, 2020.
     (If applicable, date of publication in Federal Register of notice of contested determination)


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                                                  Attorney for Plaintiff SeAH Steel Corporation


 /s/Jeffrey M. Winton
       Signature of Plaintiff’s Attorney


 August 12, 2020
               Date




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               SERVICE OF SUMMONS BY THE CLERK

     If this action, described in 28 U.S.C. § 1581(c), is commenced to
contest a determination listed in section 516A(a)(2) or (3) of the Tariff Act of
1930, the action is commenced by filing a summons only, and the clerk of
the court is required to make service of the summons. For that purpose, list
below the complete name and mailing address of each defendant to be
served.

(As amended July 21, 1986, eff. Oct. 1, 1986; Sept. 30, 2003, eff. Jan. 1,
2004; Nov. 28, 2006, eff. Jan. 1, 2007; Dec. 7, 2010, eff. Jan. 1, 2011.)

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